Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 1 of 6

USDC FLSD 7245B iRev 39/08) - Juagment in a Cruminal Case

Page | or >

 

 

United States District Court

UNITED STATES OF AMERICA

MICHAEL DUNN

 

Southern District of Florida
MIAMI DIVISION

JUDGMENT IN A CRIMINAL CASE

Case Number - 1:10-20555-CR-GRAHAM-1

USM Number: 8341 1-004

Counsel For Defendant: Anthony Natale, AFPD
Counsel For The United States: Michael E. Gilfarb. AUSA
Court Reporter: Judy Shelton

The detendant pleaded guilty to Counts One, Two and Three of the Indictment.

The defendant is adjudicated guilty of the following offenses:

TITLE/SECTION
NUMBER

ISUSC $2119 Carjacking

18 US.C. § 924¢0)} LCA) Using, Carrying and Brandishing
a Firearm in Furtherance of a
Crime of Violence

18 ULS.C §$ 922(g) Possession of a Firearm by a
Convicted Felon

NATURE OF

OFFENSE ENDED COUNT
July 8, 2010 l
July 2, 2010 2
July 8, 2010 3

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

[t is ordered that the defendant must noutv the Caited States attorney for this district within 30 days of any change of name.
residence, or mailing address unui all fines. restitution, costs and special assessments imposed by this judgment are fully paid.
if ordered to pay restitution. the defendant must notif¥ the court and United States attorney of anv material changes in economic

circumstances.

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Date of Imposie6n of ese) DA

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November 30, 20108 ? / /
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( Ai 4 a
Le A 1 Ye
DONALD. GRAHAM
United States District Judge

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November 30. 2010
Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 2 of 6

USDC FLSB 245B (Rev 09/08) - Judgment im a Criminal Case Page 5 of t

 

DEFENDANT: MICHAEL DUNN
CASE NUMBER: 1:10-20555-CR-GRAHAM-]

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for @ term
of 160 months, The term consists of 76 months. as to each of Counts One and Three, to be served concurrently with each other.
and 84 months. as to Count Two. to be served consecutively to Counts and One and Three. The defendant shall receive credit for
time served as applicable by statute.

The Court makes the following recommendations to the Bureau of Prisons: that the defendant receive mental health
treatment during his term of incarceration. Additionally. the Court recommends that the defendant be evaluated bv the Bureau
of Prisons to determine the treatment plan for the defendant.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at . with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By:

 

Deputy U.S. Marshal
Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 3 of,6

USDC FLSD 245B (Rev. 09/08) - Judginent in a Criminal Case Page 3 of 6

 

 

DEFENDANT: MICHAEL DUNN
CASE NUMBER: 1:10-20555-CR-GRAHAM-1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years. This term consist of
three years, as to each of Counts One and Three and five years as to Count two, all such terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons. The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance

with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

I. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4. . The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
unless granted permission to do so by the probation officer:

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer;

I. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a Jaw enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
of the court; and

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record

or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.
Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 4 of 6

USDC ELSD 245B (Rey 09/08) - Judgment in a Criminal Case Page 4 of ¢

DEFENDANT: MICHAEL DUNN
CASE NUMBER: 1|:16-20555-CR-GRAHAM-!

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also compiy with the following additional! conditions of supervised release:

Financial Disclosure Requirement - The defendant shall provide complete access to financial information. mcluding disclosure
of all business and personal finances, to the U.S. Probation Officer.

Mental Health Treatment- The defendant shall participate in an approved inpatient outpatient mental health treatmem program.
The defendant will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third part
payment.

Permissible Search - The defendant shal! submit to a search of his/her person or property conducted in 4 reasonable manner and
a. ¢ reasonable time by the U.S. Probation Officer.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or alcohol abuse
and abide bv all supplemental conditions of treatment, Participation ma) include inpatient/outpatient treatment. The defendamt
will contribute to the costs of services rendered (co-payment) based on abiliry to pay or availability of third party payment.
Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 5 of 6

USDC FLSP 245B (Key. 09/08) - Judgment in a Criminal Case Page 5 of ¢

 

 

DEFENDANT: MICHAEL DUNN
CASE NUMBER: 1:}0-20555-CR-GRAHAM-1

CRIMINAL MONETARY PENALTIES

The defendant musi pay the total criminal monetary penalties under the schedule of payments on the Schedule of
Payments sheet.

Total Assessment Total Fine Total Restitution

$300.00 $4,387.66

Restitution with imprisonment -

it is further ordered that the defendant shal! pay restitution in the amount of $4.387.66. During the period of incarceration.
paymemt shal! be made as follows: (1) if the defendamt earns wages in 2 Federal Prison Industries (UNICOR) job, then the
defendant must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a Criminal Case: (2) if
the defendant does not work in a UNJCOR job. then the defendant must pay $25.00 per quarter toward the financial obligations
imposed in this order.

Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings. until such time as
the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons. U.S. Probation Office and U.S.
Atiorney’s Office shall monitor the payment of restitution and report to the court any material change in the defendant's ability
lo pay. These payments do not preclude the government from using other assets or income of the defendant to satisfy the
restitution obligations.

*Findings for the total amount of losses are required under Chapters 109A.110, 110A. and 113A of Title ] 8. United States Code, for offenses committed on
or after September 13. 1994. but before April 23. 1996.
Case 1:10-cr-20555-DLG Document 24 Entered on FLSD Docket 12/06/2010 Page 6 of 6

USDC FLSD 2-45B (Rev. 09/08) - Judgment in a Criminal! Case Pape v of ¢

 

DEFENDANT: MICHAEL DUNN
CASE NUMBER: 1:10-20555-CR-GRAHAM-|

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as foliows:
A. Lump sum payment of $306.00 due immediately. balance due
Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary penalties
1s due during imprisonment. Ali criminal monetary penalties. except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credn for all pavments previously made toward any crimima! monetary penalties imposed.

The assessment and restitution is pavable immediately to the CLERK, UNITED STATES COURTS and is to be addressed
tu:

U.S. CLERK’S OFFICE

ATTN: FINANCIAL SECTION

400 NORTH MIAMI AVENUE, ROOM 8N09
MIAMI. FLORIDA 33128-7716

The U.S. Bureau of Prisons. U.S. Probation Office and the U.S. Attorney’s Office are responsible for the enforcement of
this order.

Payments shall] be apphed in the following order: (1) assessment. (2) restitution principal. (3) restitution interest, (4) fine principal.
(3) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
